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UNITED STATES OF AMERICA

V.

RoBERTA REYNA 05¢1-20249-2- §

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant has this day notified the Court that he is attempting to obtain private
counsel to represent him in this action. Pursuant to the Speedy Trial Act, as set out in 18

U.S.C. §3161(h)(8)(]3)(iv), a defendant may be granted a period of excludable delay While

attempting to obtain private counsel

 

 

lt is therefore ORDERED that the time period of Z/é»//U\S_ through
:)[/,// [/Q§ be excluded from the time its imposed by the Speedy Trial Act

for trial of this case, While the defendant is attempting to obtain private counsel

DETENTION/ARRAIGNMENT IS SET TO MONDAY‘ JULY 11. 2005 AT 3:00 P.M.

BEFORE MAGISTRATE JU])GE DIANE K. VESCOVO

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This ga dayof %fu!l..` .2005.

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UNITED STATESVMAGISTRATE JUDGE

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with Ru|e 55 and/cr 32(b) FHCrP on §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20249 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

